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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

SANDPIPER CONDOMINIUM                            §
COUNCIL OF OWNERS, INC.                          §
                                                 §
        Plaintiff,                               §
                                                 §
   v.                                            §    CIVIL ACTION NO. 2:18-CV-
                                                 §              00414
LEXINGTON INSURANCE                              §
COMPANY                                          §
                                                 §
        Defendants.                              §
                                                 §
                                                 §

                      ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL


        CAME ON TO BE HEARD Plaintiff’s Motion to Compel, and the Court having

considered such motion and any evidence submitted in connection therewith, the Court

finds the motion well taken. Plaintiff’s Motion to Compel discovery of reserve and

reinsurance information is HEREBY GRANTED and Defendant is ordered to produce the

subject documents (generated prior to _________________) or (regardless of when

created) in unredacted form within thirty days of this order.

        Signed and entered this ______ day of ___________________, 2019.




                                          Judge Presiding



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